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                        Paul A. Norcia
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       18183 Lansford Path ● Lakeville, MN 55044-4956 ● (952) 412-7200 ● panorcia@frontiernet.net

Well- trained, high producing Senior Claims Analyst seeks challenging position in insurance industry.

SUMMARY OF QUALIFICATIONS

   •   Over 26 years of experience in the insurance industry
   •   Proven performer – earning industry accreditation as Registered Professional Adjuster
   •   Trained in all personal and commercial multi-lines of insurance.
   •   Proactive “doer” able to identify problems and find solutions, and face challenges head-on.
   •   Conscientious and detailed oriented.
   •   Have been referred to by clients as “great resource and wealth of knowledge.”
   •   Trustworthy and dependable with access to confidential information.
   •   Outgoing and personable – able to satisfy customers while meeting company objectives.

PROFESSIONAL BACKGROUND

2007 – present Norcia Insurance Consultants, LLC, Consultant and Adjuster - Lakeville, MN. Owner and
               sole proprietor of public adjustment firm; handling first party insurance
               claims on behalf of the policyholder/insured. Losses include homeowners’ claims to complex
               commercial claims and condominium association property losses. Continue to assist in
               professional estimating and appraisal services throughout the country.


2004 – 2007    Norcia Insurance Consultants, LLC, Consultant and Adjuster - Lakeville, MN. Owner and
               sole proprietor of Twin Cities Metro independent adjustment firm; handling first party insurance
               claims on behalf of the insurance industry. Losses include homeowners’ claims to complex
               commercial claims and condominium association property losses. Have also performed
               estimating and appraisal services to both the public and the insurance industry throughout the
               country following the catastrophic hurricanes of 2004 and 2005, inclusive of Hurricanes
               Charley, Jeanne, Frances, Ivan, Katrina and Wilma.

1999 – 2004   Norcia Nonhof Associates, Inc, Principal and General Adjuster - Edina, MN. Principal of a
              leading Midwest independent adjustment firm handling all aspects of first and third party
              insurance claims on behalf of the insurance industry. Losses included companies that were self
              insured or maintained a large retention that would include third party administration, major
              commercial claims, inclusive of business interruption and full subrogation recovery. Administered
              staff of up to ten people in the handling of all claims files and also managed catastrophe office
              operations with up to twenty staff adjusters.

1994 – 1999   Norcia & Associates, Inc., Principal & Adjuster – Boston, MA. Principal of Boston area
              independent adjustment firm handling both first and third party insurance claims on behalf of the
              insurance industry. Handled major account for various surplus lines carriers throughout the New
              England area with many complex losses, inclusive of restaurants and bed & breakfasts along with
              resort hotels.




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1991- 1994    Patrick J. Donovan & Associates, Office Manager and Adjuster - Boston, MA. Office manager
              of satellite office of a leading independent adjustment firm in New England, overseeing both
              administration of staff and all marketing aspects of the office.

1987 – 1991   Norfolk & Dedham Group, Senior Claims Examiner - Dedham, MA. Senior Claims Examiner
              for regional New England Mutual Insurance Company.

1985 – 1987   GAB Business Services, Inc., Adjuster - Boston, MA. Full time position as an independent
              adjuster for the leading national adjustment firm to serve the insurance industry


EDUCATION


University Of Wisconsin – Madison, Bachelor of Science, 1985

Waukesha South High School – Waukesha, WI, 1978 - 1981

St. Mary’s Grade School - Waukesha, WI, 1969 – 1977


ACCREDITATIONS

Registered Professional Adjuster

Completed 9 of 10 of the Chartered Property Casualty Underwriter Program

Licensed Adjuster - Minnesota – License No: 40026085
                    Florida – License No: A192999 (from 1992 – 2004)




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                           List of Testimony and Deposition for Paul Norcia



  Cardinal Development Corp. v. Poe Financial - 2006

  New Wave Condominium v. Poe Financial - 2006

  Desert Inn and Resort v. Citizens Insurance - 2006

  Manor House v. Citizens Insurance - 2007

  Oceans Atrium v. Citizens Insurance - 2008

  Oceans Atrium One v. Citizens Insurance - 2008

  Surfside v. QBE - 2008

  White Surf v. Citizens Insurance - 2008

  Aliki Forum v. QBE - 2008

  Villa Luisa v. Citizens Insurance - 2009

  Ashley Condominiums v. Citizens Insurance - 2010

  King’s Cove v. Travelers Insurance - 2010

  Courts of Delray v. QBE - 2010

  Lodges at the Preserve v. American Family - 2010

  Waters Edge HOA v. American Family - 2010

  Curt and Stacy Marks v. Firemen’s Fund - 2010




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